
702 S.E.2d 793 (2010)
STATE of North Carolina
v.
Billy PEPPERS.
No. 105P10.
Supreme Court of North Carolina.
October 7, 2010.
Kevin P. Bradley, Durham, for Billy Peppers.
Peter Regulski, Assistant Attorney General, for State of NC.


*794 ORDER

Upon consideration of the petition filed on the 9th of March 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of October 2010."
